              Case 23-31922-jal               Doc 1       Filed 08/18/23           Entered 08/18/23 12:09:57                    Page 1 of 34


Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF KENTUCKY

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Green District Franchisee Parent Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  225 S. 5th Street
                                  Louisville, KY 40202
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Jefferson                                                       Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://gdsalads.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    Green District Franchisee Parent Inc.                                                        Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 7225

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
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Debtor    Green District Franchisee Parent Inc.                                                           Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                              50-99                                            5001-10,000                                 50,001-100,000
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999


15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
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         Name

                               $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                               $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                               $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
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Debtor    Green District Franchisee Parent Inc.                                                    Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      August 18, 2023
                                                  MM / DD / YYYY


                             X /s/ Chris Furlow                                                           Chris Furlow
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Director




18. Signature of attorney    X /s/ Dean A. Langdon                                                         Date August 18, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Dean A. Langdon
                                 Printed name

                                 DelCotto Law Group PLLC
                                 Firm name

                                 200 North Upper St.
                                 Lexington, KY 40507
                                 Number, Street, City, State & ZIP Code


                                 Contact phone      (859) 231-5800               Email address


                                 40104 KY
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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Fill in this information to identify the case:

Debtor name         Green District Franchisee Parent Inc.

United States Bankruptcy Court for the:     WESTERN DISTRICT OF KENTUCKY

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       August 18, 2023                 X /s/ Chris Furlow
                                                           Signature of individual signing on behalf of debtor

                                                            Chris Furlow
                                                            Printed name

                                                            Director
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
                Case 23-31922-jal            Doc 1         Filed 08/18/23             Entered 08/18/23 12:09:57                            Page 7 of 34


 Fill in this information to identify the case:
 Debtor name Green District Franchisee Parent Inc.
 United States Bankruptcy Court for the: WESTERN DISTRICT OF                                                                                 Check if this is an
                                                KENTUCKY
 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 4 Peaks Woodwork                                                                                                                                                  $6,600.00
 2403 Zhale Smith Rd
 LaGrange, KY 40031
 AE Urbia Architects                                                                                                                                               $8,188.00
 & Engineers
 909 West South
 Jordan Pkwy
 South Jordan, UT
 84095
 American Express                                    credit card                                                                                                 $30,109.67
 PO Box 981535
 El Paso, TX
 79998-1535
 Avenue                                                                                                                                                        $182,030.00
 Construction
 7110 Peach Ct
 Brentwood, TN
 37027
 CGGD Franchisee,                                    loan from affiliate                                                                                   $14,982,000.00
 LP
 201 E. Jefferson
 Street
 Suite 150
 Louisville, KY 40202
 Chase                                               credit card                                                                                                 $15,499.18
 PO Box 15298
 Wilmington, DE
 19850-5298
 Commonwealth                                                                                                                                                      $9,584.54
 Sign Co
 1824 Berry Blvd
 Louisville, KY 40215
 Dine Company                                                                                                                                                    $88,264.78
 3110 Preston Hwy
 Louisville, KY 40213




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
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 Debtor    Green District Franchisee Parent Inc.                                                     Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Door Unlimited of                                                                                                                                                 $6,893.19
 Tennessee
 PO Box 840602
 Dallas, TX
 75284-0602
 FTL Builders                                                                                                                                                    $76,619.31
 2768 E. 3835 So.
 Salt Lake City, UT
 84109
 Granite                                                                                                                                                           $7,983.47
 PO Box 983119
 Boston, MA
 02298-3119
 Maestro                                                                                                                                                         $14,590.00
 Development
 9380 Montgomery
 Road
 Suite 205
 Cincinnati, OH
 45242
 Mion Construction                                                                                                                                                 $8,914.53
 780 Windlass Ct
 Kissimmee, FL
 34746
 Miramar Cener                                                                                                                                                 $108,000.00
 Associates II, LLLP
 David W. Black, Esq.
 Frank Weinberg &
 Black P L
 7805 SW 6th Ct
 Fort Lauderdale, FL
 33324-3203
 Miranda                                                                                                                                                         $46,330.81
 Construction
 322 East Kentucky
 St
 Louisville, KY 40203
 Miranda                                                                                                                                                         $51,910.81
 Construction, Inc.
 828 S. 6th Street
 Louisville, KY 40203
 Rent - Monument                                                                                                                                                 $29,069.20
 Circle (Guaranty
 Holding
 c/o Premier
 Commercial
 6284 Rucker Road
 Suite M
 Indianapolis, IN
 46220




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
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 Debtor    Green District Franchisee Parent Inc.                                                     Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Station Park                                                                                                                                                $1,050,015.60
 CenterCal Owner,
 LLC
 c/o CenterCal
 Properties, LLC
 1600 East Franklin
 Ave
 Gardena, CA 90248
 Switchbacks FC,                                                                                                                                                   $9,016.80
 LLC
 111 W Cimarron
 Street
 Colorado Springs,
 CO 80903
 US FOODS                                                                                                                                                        $90,643.91
 PO Box 78000 Dept
 #78792
 Detroit, MI
 48278-0792




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3
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                                                      United States Bankruptcy Court
                                                             Western District of Kentucky
 In re    Green District Franchisee Parent Inc.                                                                   Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
CGGD Franchisee, LP                                                                                                          preferred 17,000 stock
201 E. Jefferson St., Ste. 150
Louisville, KY 40202

Chris Furlow                                                                                                                 common 10,000 stock
1022 Caiman Ct.
Sellersburg, IN 47172

Jordan Doepke                                                                                                                common 17,000 stock
6312 Mistflower Cir.
Prospect, KY 40059

Matt Petty                                                                                                                   common 7,500 stock
1052 Alta Vista Road
Louisville, KY 40205

Sean Bingham                                                                                                                 common 200 stock
15 Glennwood Road
Louisville, KY 40222


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Director of the corporation named as the debtor in this case, declare under penalty of perjury that I have read
the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



Date August 18, 2023                                                     Signature /s/ Chris Furlow
                                                                                        Chris Furlow

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                               United States Bankruptcy Court
                                                     Western District of Kentucky
 In re   Green District Franchisee Parent Inc.                                                    Case No.
                                                                     Debtor(s)                    Chapter      11




                                   VERIFICATION OF CREDITOR MATRIX


I, the Director of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




Date:     August 18, 2023                                /s/ Chris Furlow
                                                         Chris Furlow /Director
                                                         Signer/Title
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M
a
x




                          4 Peaks Woodwork
                          2403 Zhale Smith Rd
                          LaGrange, KY 40031

                          5/3 Bank - CBRE
                          38 Fountain Square Plaza
                          Cincinnati, OH 45263

                          9625 Prominent Point LLC
                          102 North Cascade Avenue
                          Suite 550
                          Colorado Springs, CO 80903

                          Abigail Brooking
                          8315 Spyglass Drive
                          Apt 2A
                          Indianapolis, IN 46260

                          Abigail Emerson
                          7611 Home Drive
                          Fishers, IN 46038

                          Abigail Kate Wallace
                          6112 Winkler Rd
                          Crestwood, KY 40014

                          Able 2 Loan LLC
                          2527 Nelson Miller Parkway
                          Suite 207
                          Louisville, KY 40223

                          Addison Rose Forristal
                          14103 Marley Place
                          Louisville, KY 40245

                          AE Urbia Architects & Engineers
                          909 West South Jordan Pkwy
                          South Jordan, UT 84095

                          Alex Davis, Esq.
                          ALEX DAVIS LAW OFFICE PSC
                          445 BAXTER AVE, SUITE 275
                          Louisville, KY 40204

                          Alex White, Esq.
                          Alex R. White, PLLC
                          904 Minoma Ave
                          Louisville, KY 40217

                          Alexander James Clarke
                          2709 Razor View Court
                          Louisville, KY 40299
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                      Alexandra Ely
                      13575 Courtney Drive
                      Fishers, IN 46038

                      Alice Kolwicz
                      2373 Flora Street
                      Cincinnati, OH 45219

                      Alicia Carolyn Sanchez
                      6549 Canastota Dr
                      Fairfield, OH 45011

                      Alisha Norman
                      2027 3rd Ave
                      Cincinnati, OH 45224

                      Allied Electric Sign & Awning
                      PO Box 27911
                      Salt Lake City, UT 84127

                      Amanda Anderson
                      10921 Sharondale Rd
                      Cincinnati, OH 45241

                      American Express
                      PO Box 981535
                      El Paso, TX 79998-1535

                      Andrew Jacoby Taylor
                      5023 Webster Dr
                      Noblesville, IN 46062

                      Anna Burzynski
                      80 Valley Road
                      Louisville, KY 40204

                      Anna-Grace Alberta Phillips
                      7014 Cherry Grove Lane
                      Pewee Valley, KY 40056

                      Annabel Louise Bryant
                      2108 Eastview Avenue
                      Louisville, KY 40205

                      Annabelle Miller
                      5915 Waveland Circle
                      Prospect, KY 40059

                      Anthem BCBS
                      PO Box 4445
                      Atlanta, GA 30302

                      Anything Groes
                      PO Box 305
                      Buckner, KY 40010
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                      Aramark Uniform
                      2680 Palumbo Drive
                      Lexington, KY 40509

                      Ariana Nicole Aloma
                      19107 Brattle Lane
                      Louisville, KY 40245

                      Ariel L Wigginton
                      202 Wooded Falls Road
                      Louisville, KY 40243

                      Ashley N Massie
                      1517 Cliftwood Drive
                      Clarksville, IN 47129

                      Atri Parsons
                      12734 Churchill Pkwy
                      Goshen, KY 40026

                      Aurora Rose Walters
                      9439 Evergreen Avenue
                      Apt C
                      Indianapolis, IN 46240

                      Austin James Rivers
                      1204 E Broadway
                      Unit 3
                      Louisville, KY 40204

                      Autumn Faith Bolden
                      8717 Randall Dr
                      Fishers, IN 46038

                      Ava L Sekelsky
                      17012 Polo Fields Lane
                      Louisville, KY 40245

                      Ava M Berry
                      3013 Callaway Drive
                      Jeffersonville, IN 47130

                      Avenue Construction
                      7110 Peach Ct
                      Brentwood, TN 37027

                      Barry Worrell
                      2460 Saturn St
                      Cincinnati, OH 45214

                      Bella Rain Tackett
                      2015 Ballard School Road
                      La Grange, KY 40031
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                      Benjamin Hagan
                      1628 South 3rd Street
                      #4
                      Louisville, KY 40208

                      Bethany A Kenny
                      2005 Baringer Ave
                      Louisville, KY 40204

                      Blake Andrew Cummins
                      5303 Pavilion Way
                      Louisville, KY 40291

                      Branch Creek Partners
                      5210 Maryland Way
                      Suite 103
                      Brentwood, TN 37027

                      Brian J Sekelsky
                      17012 Polo Fields Ln
                      Louisville, KY 40245

                      Burdorf Properties, LLC
                      3939 Shelbyville Road
                      Louisville, KY 40207

                      Caitlyn Hill
                      8006 Cardinal Meadow Ct
                      Unit 4
                      Louisville, KY 40222

                      Carly Snellen
                      536 Knapp Lane
                      Taylorsville, KY 40071

                      Carson Blanford
                      4208 Saint Thomas Avenue
                      Louisville, KY 40218

                      Carter Suddick
                      4710 Lowe Road
                      Louisville, KY 40220

                      Central Building LLC
                      3601 E. Colter Street
                      Phoenix, AZ 85018

                      CGGD Franchisee, LP
                      201 E. Jefferson Street
                      Suite 150
                      Louisville, KY 40202

                      Chadley Sekelsky
                      1104 Cherokee Rd
                      Louisville, KY 40204
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                      Chase
                      PO Box 15298
                      Wilmington, DE 19850-5298

                      Chelsie Sue Deaton
                      17014 Shelbyville Rd
                      500 E
                      Fisherville, KY 40023

                      Chloe E Ipsen
                      15706 Hush Hickory Bend
                      Westfield, IN 46074

                      Chris Furlow
                      1022 Caiman Ct.
                      Sellersburg, IN 47172

                      Cintas
                      PO Box 630921
                      Cincinnati, OH 45263-0921

                      Commonwealth Sign Co
                      1824 Berry Blvd
                      Louisville, KY 40215

                      Coral Springs Trade Center, Ltd.
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                      GKT Southbridge TC1, L.L.C.
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                      Switchbacks FC, LLC
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                                           United States Bankruptcy Court
                                                 Western District of Kentucky
 In re   Green District Franchisee Parent Inc.                                        Case No.
                                                              Debtor(s)               Chapter     11




                                 CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Green District Franchisee Parent Inc. in the above captioned action, certifies that
the following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10%
or more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP
7007.1:
CGGD Franchisee, LP
201 E. Jefferson St., Ste. 150
Louisville, KY 40202




  None [Check if applicable]




August 18, 2023                                   /s/ Dean A. Langdon
Date                                              Dean A. Langdon
                                                  Signature of Attorney or Litigant
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